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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



SAMUEL PHILBRICK, et al.,

               Plaintiffs,
                                                       Civil Action No. 1:19-cv-00773 (JEB)
   v.


ALEX M. AZAR II, et al.

               Defendants.


             THE FEDERAL DEFENDANTS’ UNOPPOSED MOTION
                     FOR ENTRY OF FINAL JUDGMENT
        UNDER RULE 54(b) OF THE FEDERAL RULES OF CIVIL PROCEDURE

        The federal defendants Alex M. Azar, et al., hereby move under Federal Rule of Civil

Procedure 54(b) for entry of final judgment in this case. In support of this motion, the federal

defendants state as follows:

   1. On July 29, 2019, the Court (1) granted plaintiffs’ motion for summary judgment, (2) denied

        defendants’ cross-motions for summary judgment, (3) vacated and remanded the Secretary of

        Health and Human Services’ approval of the Granite Advantage Section 1115 project, and (4)

        ordered the parties to appear for a status hearing on August 28, 2019. Order, ECF No. 46.

   2. The order was accompanied by a memorandum opinion, in which the Court adjudicated

        plaintiffs’ arbitrary-and-capricious challenge to the Granite Advantage Section 1115 project,

        which is a portion of Count II of plaintiffs’ three-count Complaint. Mem. Op. at 33, ECF No.

        47 (“Plaintiffs have standing to challenge and have successfully challenged the Secretary’s

        November 30, 2018, approval of the amendments to Granite Advantage.”). The Court did not

        address plaintiffs’ alternative bases for vacating the project, such as their separate statutory



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   authority, APA notice-and-comment, and constitutional arguments. Nor did the Court

   dismiss or otherwise grant judgment on the rest of plaintiffs’ claims.

3. Generally, “any order or decision, however designated, that adjudicates fewer than all the

   claims . . . does not end the action as to any of the claims.” Fed. R. Civ. P. 54(b). Rule 54(b),

   however, allows this Court to “direct the entry of a final judgment as to one or more, but

   fewer than all, claims . . . if the court expressly determines that there is no just reason for

   delay.” Id. To do so, the court must first determine that its ruling constituted a final judgment.

   “It must be a ‘judgment’ in the sense that it is a decision upon a cognizable claim for relief,

   and it must be ‘final’ in the sense that it is an ultimate disposition of an individual claim entered

   in the course of a multiple claims action.” Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 7

   (1980) (citation omitted). Second, the court must determine whether there is any just reason

   for delay. “[I]n deciding whether there are no just reasons to delay the appeal of individual

   final judgments in setting[s] such as this, a district court must take into account judicial

   administrative interests as well as the equities involved.” Id. at 8. “The purpose of Rule 54(b)

   is to ‘mediate between the sometimes antagonistic goals of avoiding piecemeal appeals and

   giving parties timely justice.’” Chaplaincy of Full Gospel Churches v. England, 221 F.R.D. 255, 257–

   58 (D.D.C. 2004) (internal alterations omitted) (quoting Taylor v. Fed. Deposit Ins. Corp., 132

   F.3d 753, 760 (D.C. Cir. 1997)).

4. Here, this Court’s July 29, 2019, order is a final judgment because the order was an ultimate

   disposition (summary judgment) as to one of plaintiffs’ cognizable claims for relief (the

   allegations in Count II of plaintiffs’ Complaint for Declaratory and Injunctive Relief that the

   Secretary’s approval of the Granite Advantage Section 1115 project violated the

   Administrative Procedure Act (APA) because it “was arbitrary and capricious”). Compl. ¶ 199,

   ECF No. 1; Am. Forest Res. Council v. Ashe, 301 F.R.D. 14, 18 (D.D.C. 2014) (recognizing that
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       there is “no question” that the court’s order granting summary judgment was “intended to be

       final” as to certain claims because “[n]othing remains to be decided” on those claims).

    5. There are also no just reasons to delay entering final judgment as to this claim. By entering

       final judgment, this Court would allow defendants to seek appellate review of the Court’s

       decision without waiting for any further proceedings in this case.1 Allowing this Court’s

       decision on Count II to proceed to any appellate review is the course of action most likely to

       preserve judicial and party resources, to timely obtain an ultimate adjudication of this claim,

       and to avoid potentially unnecessary adjudication of other statutory and constitutional

       questions.

    6. Therefore, the circumstances justify the entry of a Rule 54(b) final judgment on the arbitrary-

       and-capricious claim in Count II of plaintiffs’ Complaint.

    7. The federal defendants conferred with all parties before filing this request. Plaintiffs take no

       position on the motion. Intervenor-defendant the State of New Hampshire consents to the

       motion.

    8. The federal defendants request that the Court: (a) enter final judgment on Count II of the

       plaintiffs’ Complaint; (b) stay consideration of the other counts of the Complaint pending any

       appeal by defendants of the court’s ruling on Count II; (c) stay the timeframe for plaintiffs to

       request attorneys’ fees under Fed. R. Civ. P. Rule 54(d)(2) pending any appeal by defendants

       of the court’s ruling on Count II; and (d) order the parties to update the court within 14 days

       of the appeal deadline if no appeal is filed or, if an appeal is filed, within 14 days of the mandate




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  While the Court has remanded this matter, the Secretary does not intend to take further action
regarding the Granite Advantage application unless and until any appellate review in this or the related
cases Stewart v. Azar and Gresham v. Azar has concluded. Further, the federal defendants intend to
move in the D.C. Circuit to hold any appeal in this case in abeyance pending the related appeals in
Stewart v. Azar and Gresham v. Azar.
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       issuing from the appeal.


Dated: August 27, 2019                 Respectfully submitted,

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                                       /s/ Vinita B. Andrapalliyal               -
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